IN THE
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

a

JEFFREY SKELDON, N
Case No.3" AS-cy - OOT? 7

Plaintiff,

V.

METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,
ANTHONY L. HAYES, and DAD'S TOWING
SERVICES, INC.,

Defendants.

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PLAINTIFF’S ORIGINAL COMPLAINT

I JURY DEMAND

1. This action seeks money damages because of Defendants participation in the wrongful
deprivation of Plaintiff’s property. Plaintiff alleges that all of the Defendants acted under color of state
law and violated Plaintiffs rights under the Fourth, Fifth, Eighth and Fourteenth Amendments to the
Constitution of the United States as well as 42 U.S.C. § 1983.

I. JURISDICTION & VENUE

2. This Court has jurisdiction over Plaintiffs federal claim under 28 U.S.C. §§ 1331 and
1343,
3. Venue in the United States District Court for the Middle District of Tennessee, Nashville
Division is proper pursuant to 28 U.S.C. § 1391.
Il PARTIES
4, Plaintiff is Jeffrey Skeldon, a United States adult citizen who resides at 820 N,
Summerfield Drive, Madison, Davidson County, Tennessee, 37115, 469-422-9338,

veronicaskeldon@yahoo.com.

5. Defendant is Metropolitan Government of Nashville and Davidson County

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(“Metropolitan”), the local governmental unit for which Defendant Hayes worked at all times relevant
hereto. Defendant Metropolitan can be served by serving its legal agent, Austin Kyle, Metropolitan
Clerk, Metropolitan Government of Nashville and Davidson County, Historic Metro Courthouse, |

Public Square, Suite 205, Nashville, Davidson County, Tennessee 37201, 615-862-6770,

metroclerk@nashville.gov.

6. Defendant is Anthony L. Hayes (“Hayes”), an employee of Metropolitan Government of
Nashville and Davidson County, employee number 382345, job title Compliance Inspector 2,
Department of Transportation & Multimodal Infrastructure (NDOT), 750 S. 5th St, Nashville, Davidson

County, Tennessee, 37206, 615-862-5000, metroclerk@nashville.gov. At all times relevant hereto,

Defendant Hayes acted in concert with the other Defendants and under color of state law. Defendant
Hayes is sued both in his official and individual capacity. Defendant Hayes can be served by serving
Metropolitan’s legal agent, Austin Kyle, Metropolitan Clerk, Metropolitan Government of Nashville and
Davidson County, Historic Metro Courthouse, 1 Public Square, Suite 205, Nashville, Davidson County,
Tennessee, 37201, 615-862-6770, metroclerk@nashville.gov.

7, Defendant is Dad’s Towing Services, Inc. (“Dad’s Towing”), a towing and impoundment
company operating under contract with Defendant Metropolitan Government of Nashville and Davidson
County. Defendant Dad’s Towing acted in concert with the other Defendants in the wrongful taking of

Plaintiff's vehicle. The address of Defendant Dad’s Towing is 1119 E. Old Hickory Blvd, Madison,

Davidson County, Tennessee, 37115, 615-833-3703, dispatch@dadstowingservice.com. Defendant
Dad’s Towing is a Tennessee for-profit corporation and can be served by serving its Registered Agent,
Corporation Service Company, 2908 Poston Ave, Nashville, Davidson County, Tennessee, 37203-1312.
IV. FACTS
8. On July 15, 2024, Plaintiff's vehicle was safely and legally parked on the street, directly

in front of Plaintiff's residence at 820 N. Summerfield Drive, Madison, Davidson County, Tennessee,

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37115. Plaintiff resides in a quiet and secluded subdivision with minimal traffic; parking on the street is
perfectly legal at this street address.

9. Plaintiff's vehicle is a 2006 Ford Explorer, VIN 1FMEU62E06UA43109, Kansas Title,
Kansas Registration Number 189NSM.

10. _—~ Plaintiff's vehicle is jointly and legally titled with Plaintiff's spouse, Veronica L. Skeldon,
a United States adult citizen, a joint resident at 820 N. Summerfield Drive, Madison, Davidson County,

Tennessee, 37115, cell phone number 316-573-6382, email veronicaskeldon@gmail.com or

veronicaskeld on(@ yahoo.com.

11. On Monday, July 15, 2024, at approximately 8:42am, Plaintiff's spouse noticed that our
2006 Ford Explorer was in the process of being hooked up to a tow truck by Defendant Hayes and a tow
truck driver from Defendant Dad’s Towing. Plaintiff's spouse immediately went outside to vigorously
dispute and contest the legality of Defendants actions and told them that the vehicle belonged to Plaintiff
and that the vehicle was safely and legally parked in front of Plaintiff's house.

12. Defendant Hayes told Plaintiffs spouse that our vehicle was being ticketed and towed
because our vehicle is illegally parked in the middle of the roadway and that it is illegal to park on the
street because our house has a long driveway.

13. Defendant Hayes told Plaintiff's spouse that he had been waiting for over 30 minutes in
front of our house for the arrival of the tow truck driver and that he and the tow truck driver from
Defendant Dad’s Towing were trying to figure out who the vehicle belonged to.

14. On the street, Plaintiff’s spouse challenged both Defendant Hayes and the tow truck
driver from Defendant Dad’s Towing on why they would tow our vehicle from the front of our house
without simply verifying that the vehicle belonged to the residents of the house.

15. This simple and easy act of verification would only take several minutes of Defendants

time.

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16. Defendant Hayes, with total indifference, responded that our vehicle has out of state
plates and that he does not know who the vehicle belongs to. Defendant Hayes and the tow truck driver
from Defendant Dad’s Towing then hurriedly proceeded to drive away from Plaintiff's property with
Plaintiff's seized vehicle. Plaintiff's spouse was standing on the street next to our vehicle visibly shaken
by Defendants actions.

17. Defendant Hayes was dressed in uniform with the imposing emblem “METROPOLITAN
ENFORCEMENT OFFICER DAVIDSON COUNTY” emblazoned on a bright green polo shirt.
Defendant Hayes was driving a Metropolitan government issued white Chevrolet Malibu sedan with
Tennessee registration 7978-GH with flashing rooftop lights running positioned behind Plaintiff’s
parked vehicle.

18. Plaintiff’s spouse felt physically intimidated by the presence of Defendant Hayes and
would have resisted Defendant Dad’s Towing attempt to seize the vehicle if Defendant Hayes had not
been present.

19. Defendant Dad’s Towing succeeded in taking Plaintiff’s vehicle in the presence of, and
with the active cooperation of Defendant Hayes.

20. Defendant Dad’s Towing Dodge RAM truck number was USDOT1572111/MC595682-
C; the tow ticket number was 319051. The tow truck driver refused to identify himself to Plaintiff's
spouse when asked for his identification and stated that he is following orders from Defendant Hayes
and that he is operating under contract with Defendant Metropolitan.

21. Defendant Dad’s Towing tow truck was positioned with its front driver side wheel on our
private driveway; the front end of the tow truck was obstructing the entrance to our private driveway.

22. Plaintiff was issued a written citation by Defendant Hayes, Parking Violation Notice
3627948, MCL 12.40.040 (A) (1) (f), Tow Away Zone, Parked in Traffic Lane.

23. The amount of the fine was $94.00.

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24,

Plaintiff's vehicle was legally parked in accordance with the parking code of

Metropolitan Government of Nashville and Davidson County, specifically Chapter 12.40 - PARKING.

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30.

Plaintiff's vehicle was legally parked when it was towed.

Plaintiff's vehicle was safely parked when it was towed.

Plaintiff's vehicle had not been involved in a traffic accident when it was towed.
Plaintiff's vehicle was not interfering with the flow of traffic when it was towed.

It is not against the code to legally park a vehicle with out-of-state plates on the street.

It is not against the code to legally park a vehicle on the street in front of a residence with

a long driveway.

31.

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35,

Plaintiff’s vehicle was legally titled, registered and insured.

Plaintiff’s vehicle was not involved in criminal activity or under criminal investigation.
There were no exigent circumstances that led Defendants to tow Plaintiff's vehicle.
Defendants failed to perform due diligence and use sound judgment.

Defendants actions were emotionally disturbing to Plaintiff’s spouse and the Defendants

manner of seizing the vehicle was a breach of the peace.

36.

Defendants actions were a breach of Metropolitan's duty of care and its mission to protect

and serve the citizens of Davidson County.

37.

38.

The seizure of Plaintiff’s vehicle was unreasonable.

Plaintiff filed a complaint disputing and contesting the wrongful seizure and continued

possession of Plaintiff's vehicle with Defendant Dad’s Towing on July 15, 2024, August 14, 2024,

August 22, 2024, and October 31, 2024. Plaintiff demanded the return of the vehicle without cost to

Plaintiff.

39,

The towing and/or impoundment of vehicles for an alleged parking ticket is a government

function. Defendant Metropolitan delegated that public function to Defendant Dad’s Towing, a privately

owned unaccountable nonresponsive Tennessee for-profit corporation.

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40. Plaintiff and Plaintiff’s spouse received a written Demand for payment dated July 22,
2024, from Defendant Dad’s Towing for the amount of $2,315.39, payable immediately.

Al, The demand for payment from Defendant Dad’s Towing is excessive and
disproportionate to the alleged value of a disputed minor parking violation.

42. The Defendants towing and impoundment scheme for minor parking tickets is punitive in
nature.

43. Plaintiff has never received a response from Defendant Dad’s Towing in respect to
Plaintiff's dispute.

44. Defendant Dad’s Towing failed to act and/or intervene in Plaintiff’s dispute.

45. Plaintiff believes that Defendant Dad’s Towing has disposed of Plaintiff's vehicle.

46. Plaintiff filed a complaint disputing and contesting the wrongful seizure of Plaintiff's
vehicle and parking citation by written and in-person communication with Defendant Metropolitan.

a. Specifically, by written communication on July 17, 2024, with Metroplitan Department of
Transportation & Multimodal Infrastructure (NDOT).

b. On July 22, 2024, an in-person complaint was made with the direct superiors of Defendant
Hayes, specifically Marcus D. Jackson, Transportation Superintendent and Phillip W. Jones,
Transportation Assistant Director of NDOT.

c. On August 8, 2024, by written communication with the Metropolitan Police Department,
Office of Professional Accountability.

d. On August 11, 2024, by written communication with Metropolitan Mayor Freddie O’Connell.

e. On August 15, 2024, by written communication with Metropolitan Transportation Licensing
Commission.

47. Defendant Metropolitan failed to respond, act and/or intervene in Plaintiff’s dispute.

48. Defendant Metropolitan failed to provide Plaintiff with Discovery per Plaintiff's multiple

requests for Discovery prior to the court trial of Parking Violation Notice 3627948 in General Sessions

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Court, Metropolitan Nashville and Davidson County, before the Honorable Judge John Aaron Holt on
October 3, 2024, and on December 3, 2024.

49. Defendant Hayes made false statements under penalty of perjury during the trial in
General Sessions Court. Defendant Hayes stated in court that Plaintiff's vehicle was parked in the
middle of the street, and that the vehicle was blocking traffic and that he almost had a collision with
Plaintiff’s vehicle when he arrived at Plaintiff’s residence on July 15, 2024.

50. Plaintiff was found Guilty by the Honorable Judge John Aaron Holt on December 3,
2024, after an extremely quick trial in a busy courtroom based on the testimony of Defendant Hayes.
Plaintiff was found Guilty by the Honorable Judge John Aaron Holt before Plaintiff had an opportunity
to complete the cross-examination of Defendant Hayes or call Plaintiff’s witness Veronica L. Skeldon to
the stand or to present evidence in defense of Plaintiff’s case.

51. | Defendant Hayes actions were a violation of the Metropolitan Code, Chapter 6,
Employee Conduct, Disciplinary Action and Grievance Procedures.

52. Plaintiff appealed General Sessions Case No. 3627948 to the First Circuit Court for
Davidson County, Tennessee, Case No. 24C2918.

53. Prior to the trial date of Plaintiff’s appeal, First Circuit Court Case No. 24C2918, which
was scheduled for trial on June 18, 2025, the Metropolitan Department of Law conducted an
investigation and determined that Parking Violation Notice 3627948 was issued in error and sought the
dismissal of the charges in Case No. 24C2918.

54. | The agreed dismissal was Ordered, Adjudged and Decreed by the Honorable Judge C.
David Briley, First Circuit on February 24, 2025. The Metropolitan Department of Law attorney was
Aon Mikkelsen, #032262, Assistant Metropolitan Attorney, 108 Metropolitan Courthouse, P.O. Box

196300, Nashville, Tennessee 37219-6300, 615-862-6341, ann.mikkelsen@nashville. gov.

55. | Defendants did not have a court order permitting the pre-seizure and/or post-seizure of
Plaintiff’s vehicle.

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.56. None of the Defendants afforded Plaintiff an opportunity to be heard prior to the
seizure of the vehicle, or after the seizure of the vehicle and/or before disposal of the vehicle.

57. The seizure of Plaintiff’s vehicle and the continued possession and disposal of Plaintiff’s
vehicle was unreasonable.

58. Asaproximate result of Defendants actions, Plaintiff has been deprived of his vehicle,
has incurred expenses for alternate transportation, and has suffered extreme embarrassment, shame,
anxiety, and mental distress.

V. CLAIM
42 U.S.C. § 1983--Against All Defendants

59. Plaintiff incorporates the preceding paragraphs by reference as if fully rewritten herein.

60. Defendants at all times relevant to this action were acting under color of state law.

61. Defendants unlawfully deprived Plaintiff of his property without due process of law pre-
deprivation and post-deprivation in violation of the Fourteenth Amendment to the Constitution of the
United States.

62. Defendants made an unreasonable and warrantless initial seizure and continuous seizure
of Plaintiffs personal property in violation of the Fourth Amendment to the Constitution of the United
States as incorporated and applied to the states by way of the Fourteenth Amendment to the Constitution
of the United States.

63. Defendants unlawfully deprived Plaintiff of his property by Taking Without Just
Compensation in violation of the Takings Clause of the Fifth Amendment to the Constitution of the
United States as incorporated and applied to the states by way of the Fourteenth Amendment to the
Constitution of the United States.

64. Defendants unlawfully deprived Plaintiff of his property by imposing an Excessive Fine
in violation of the Eighth Amendment to the Constitution of the United States as incorporated and
applied to the states by way of the Fourteenth Amendment to the Constitution of the United States. The

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demand for payment from Defendant Dad’s Towing, a Tennessee for-profit corporation, is
disproportionate to the alleged value of Plaintiff's disputed minor parking violation.

65. Without Plaintiff’s consent, Defendants intentionally deprived Plaintiff of his nghtful
possession of the vehicle.

66. At all times relevant hereto, these Defendants acted with malice, recklessness and total
and deliberate disregard for the contractual and personal rights of Plaintiff.

67. At all times relevant hereto, Defendant Hayes acted pursuant to a policy or custom of
Defendant Metropolitan in depriving its citizens of personal property without court order and without
providing an opportunity for the citizen to be heard.

68. Defendant Metropolitan failed to adopt clear policies and failed to properly train its
employees as to the proper role of its employees in the prevention of wrongfully ticketing and
wrongfully towing of citizens vehicles.

69. Defendant Metropolitan’s policy or custom, and its failure to adopt clear policies and
failure to properly train its employees, were a direct and proximate cause of the constitutional
deprivation suffered by Plaintiff.

VI. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief:

A. A judgment for compensatory damages in an amount to be determined at trial, plus
reasonable attorney fees pursuant to 42 U.S.C. § 1988, against all Defendants;

B. A judgment for punitive damages in an amount to be determined at trial, against
Defendant Hayes and Defendant Dad’s Towing;

C. A jury trial on all appropriate issues;

D. An award of costs and expenses against the Defendants;

E. Any and all other relief this Court may deem appropriate.

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VIL VERIFICATION

I have read the foregoing complaint and hereby verify that the matters alleged therein are true,
except as to matters alleged on information and belief, and, as to those, I believe them to be true. I
certify under penalty of perjury that the foregoing is true and correct.

Respectfully Submitted,

Jeffrey Skeldon, Pro Se

820 N. Summerfield Drive

Madison, Davidson County, TN. 37115
Cell: 469-422-9338

veronicaskeldon@yahoo.com

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served via the UNITED
STATES DISTRICT COURT and on all parties registered and to any non-registered parties by U.S.P.S.

certified mail and/or email, specifically to:

For Defendants METROPOLITAN GOVERNMENT OF NASHVILLE AND DAVIDSON COUNTY
and ANTHONY L. HAYES:

Austin Kyle, Metropolitan Clerk,

Metropolitan Government of Nashville and Davidson County,

Historic Metro Courthouse,

1 Public Square, Suite 205,

Nashville, Davidson County, Tennessee, 37201

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For Defendant DAD'S TOWING SERVICES, INC.:
Corporation Service Company,
2908 Poston Ave,

Nashville, Davidson County, Tennessee, 37203-1312.

on this the \Le

, 2025

Jeffrey Skeldon, Pro Se

Plaintiff

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Office of the
CLERK OF COURT

Case No. 3 QS ~ COT? 7 Print Full Name:

I consent to receive electronic service of all documents filed in this case via the Court’s
Electronic Case Management (ECF) system.

All notices and electronic filings for the above-captioned case(s) should be sent to me at the
email address below.

I understand that I will no longer receive paper copies of any documents issued by the court or
electronically filed by other parties to this case.

I understand that this consent applies only to the case listed above, and that if I file additional
cases in which I would like to receive electronic service of documents, I must file a consent form
in each case.

I understand that I will receive a notice of electronic filing by e-mail when the court enters an
order, or when a party files a document through CM/ECF. Upon receipt of the notice of
electronic filing by e-mail, I will be permitted one “free look” at the filed document by clicking
on the hyperlinked document number, and I must download the document to my own files to
access it again without charge. I understand that one ‘free look’ and opportunity to download the
document will expire 14 days from the date the notice was sent.

If my email address changes, I must promptly notify the Clerk in writing of my new email
address. It is my responsibility to ensure that the Court has my correct email address so that |
receive all filings in a timely manner.

I must promptly notify the Clerk in writing if 1 want to withdraw my consent to electronic
service. I understand that withdrawal of consent will be effective as of the date and time the
notice is docketed in my case.

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Mailing Address: GLO W. CummeR Fel DRINE |

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JS 44° (Rev. 03/24)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (@)_ PLAINTIFFS

FFREA

Lion Ro SE

(b) County of Residence of First Listed Plaintiff DANt v

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:
THE TRACT

Attorneys (if Known)

ETROP GLI
OF NASKNILLE AND

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ESS Y)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

ll. BASIS OF JURISDICTION (Place an “X” in One Box Only)

U.S. Government
Plaintiff

C]!

C] 2 U.S, Government
Defendant

Federal Question

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O 4 Diversity
(Indicate Citizensh

(U.S. Government Not a Party)

ip of Parties in Item ID

(For Diversity Cases Only)

PTF

(1

Citizen of This State

Citizen of Another State

Citizen or Subject ofa
Foreign Country

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Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

DEF

3

Incorporated or Principal Place

PTF

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DEF

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of Business In This State

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Incorporated and Principal Place

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of Business In Another State

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IV. NATURE OF SUIT Place an “x” in One Box Only)

Click here for: Nature of Suit Code Descriptions.

_ OTHER STATUTES

Joe < CONTRACT. TORTS : : - FORFEITURE/PENALTY: - BANKRUPTCY. | :
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
£30 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729%a))
140 Negotiable Instrument Liability C] 367 Health Care/ TT TINTELLECTUAL | 400 State Reapportionment
[_] 150 Recovery of Overpayment [__] 320 Assault, Libel & Pharmaceutical PROPERTY: RIGHTS ©: | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 320 Copyrights 430 Banks and Banking
151 Medicare Act |] 330 Federal Employers’ Product Liability ’ } 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability CT 368 Asbestos Personal 7] $35 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product — New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
C] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
|] 190 Other Contract Product Liability C] 380 Other Personal Y_]720 Labor/Management SOCIAL SECURITY 3 Protection Act
[~] 195 Contract Product Liability 360 Other Personal Property Damage Relations |] 861 HIA (1395ff) 490 Cable/Sat TV
| 196 Franchise Injury Cc] 385 Property Damage sf Railway Labor Act | 862 Black Lung (923) H 850 Securities/Commoditics/
362 Personal Injury - Product Liability 751 Family and Medical |_| 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act |_| 864 SSID Title XVI |] 890 Other Statutary Actions
REAL PROPERTY _iCIVIb RIGHTS 2 | “PRISONER PETITIONS 790 Other Labor Litigation _ 865 RST (405(g)) | 891 Agricultural Acts
[_|210 Land Condemnation A 440 Other Civil Rights Habeas Corpus: | |791 Employee Retirement | 893 Environmental Matters
[_] 220 Foreclosure 441 Voting 463 Alien Detaince Income Security Act _ FEDERAL TAX SUITS 895 Freedom of Information
[ ]230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate i _| 870 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
[_| 245 Tort Product Liability Accommodations [ ] 530 General |_| 871 [RS—Third Party 899 Administrative Procedure
C] 290 All Other Real Property | 445 Amer. w/Disabilities - | 535 Death Penalty “IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes

448 Education

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

| Original
Proceeding

2 Removed from
State Court

C13

Remanded from
Appellate Court

C] 4 Reinstated or

Reopened

C] 5 Transferred from
Another District
(specifiy)

6

Transfer

Multidistrict
Litigation -

4 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

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ee eX

Stgtute under wh

Wn e

"i sou filing (De not cite jurisdictional statutes untess diversity):

en ors OF Conemirumtenth RIGHTS

VIL. REQUESTED IN
COMPLAINT:

[-] CHECK IF THIS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

DEMAND $

JURY DEMAND:

[No

CHECK YES only if “he in complaint:
Yes

VUL RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DOCKET NUMBER

DATE —\\ Lf 25

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT #

Case 95cv-00777__ Docut#eVtOl?__Eiled 07/14/25">"Page 13 of 13 PAGE #13

